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Declaration of Michael W. Dotts in Support of Issuance of a Writ of Execution

|, Michael W. Dotts, declare and state, under penalty of perjury and based on personal knowledge, as
follows:

1. lamanattorney admitted to practice before this Court and | represent the Plaintiff in this
action.

2. On October 6, 2008, | sent an email to Greg Baka, the Assistant Attorney General representing
the Defendants in this action. { have regularly communicated with Mr. Baka by email. | invited
Mr. Baka to discuss payment of the judgment. A true and correct copy of my October 6, 2008
email to M. Baka is attached hereto as “Exhibit AL”

3. idid not receive a response to my October 6, 2008 email.

4. On October 13, 2008, I sent a second email to Mr. Baka. | again invited the Defendants to discuss
payment. A true and correct copy of my October 13, 2008 email is attached hereto as “Exhibit
B.”

5. | did not receive a response to my October 13, 2008 email.

6. |have had no contact from the Attorney General regarding payment of the judgment since the
Court provided the Defendants until OctoHer 24, 2008 to work out payment with the Plaintiff.

1, Michael W. Dotts, declare and state, under penalty of perjury, that the above is true and correct,
and is based on my personal knowledge, and if called upon to testify | would competently testify
thereto.

—_f/sf
Michael W. Dotts

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